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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

   MATTHEW KOTILA, individually and
   on behalf of all others similarly situated,           Case No. 1:22-cv-00704

          Plaintiff,                                     District Judge Hala Y. Jarbou

   v.                                                    Magistrate Judge Ray S. Kent

   CHARTER FINANCIAL PUBLISHING
   NETWORK, INC.,

          Defendant.

        DEFENDANT CHARTER FINANCIAL PUBLISHING NETWORK, INC.’S
         MOTION FOR LEAVE TO FILE RESPONSE BRIEF IN SUPPORT OF
                  ITS MOTION FOR DEFAULT JUDGMENT

                               ORAL ARGUMENT REQUESTED

        Defendant Charter Financial Publishing Network (“Defendant” or “CFPN”), by its

 attorneys, Brooks Wilkins Sharkey & Turco PLLC, pursuant to W.D. Mich. L.R. 7.3(c) requests

 leave of this Court to file the attached Response Brief in Opposition to Plaintiff Matthew Kotila’s

 Motion for Default Judgment Pursuant to Rules 23(b)(3) and 55(b)(2) and Approval of Plaintiff’s

 Proposed Class Notice Plan (Exhibit A).

        In accordance with L.R. 7.1(d), counsel for CFPN confirmed Plaintiffs’ opposition to this

 motion as further detailed on the separately filed Certificate of Compliance.

                                                   Respectfully submitted,

                                                   BROOKS WILKINS
                                                   SHARKEY & TURCO PLLC

                                                   By: /s/T. L. Summerville
                                                   T. L. Summerville (P63445)
                                                   Attorneys for Defendant Charter Financial
                                                   Publishing Network, Inc.
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 Date: December 4, 2023




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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

  MATTHEW KOTILA, individually and
  on behalf of all others similarly situated,       Case No. 1:22-cv-00704

         Plaintiff,                                 District Judge Hala Y. Jarbou

  v.                                                Magistrate Judge Ray S. Kent

  CHARTER FINANCIAL PUBLISHING
  NETWORK, INC.,

         Defendant.

     DEFENDANT CHARTER FINANCIAL PUBLISHING NETWORK, INC.’S
       BRIEF IN SUPPORT OF MOTION FOR LEAVE TO FILE RESPONSE
   BRIEF IN OPPOSITION TO PLAINTIFF MATTHEW KOTILA’S MOTION FOR
    DEFAULT JUDGMENT PURSUANT TO RULES 23(B)(3) AND 55(B)(2) AND
        APPROVAL OF PLAINTIFF’S PROPOSED CLASS NOTICE PLAN

                              ORAL ARGUMENT REQUESTED
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         CONCISE STATEMENT OF REASONS SUPPORTING THIS MOTION

        Should the Court grant CFPN leave to file a response brief opposing Plaintiff Matthew

 Kotila’s Motion for Default Judgment Pursuant to Rules 23(b)(3) and 55(b)(2) and Approval of

 Plaintiff’s Proposed Class Notice Plan (ECF No. 27) when the statute on which Plaintiff’s single

 claim is based (a) does not afford relief to “subscribers” and (b) imposes liability only on a

 defendants “engaged in the business of selling at retail, renting, or lending books or other written

 materials, sound recordings, or video recordings,” which CFPN is not?

        CFPN answers yes.




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                                                 TABLE OF AUTHORITIES

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 Statutes

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                                          Brief in Support

         The Court should grant CFPN leave to file a response brief in opposition to Plaintiff

 Matthew Kotila’s (“Plaintiff”) Motion for Default Judgment Pursuant to Rules 23(b)(3) and

 55(b)(2) and Approval of Plaintiff’s Proposed Class Notice Plan (the “Motion for Default

 Judgment”) (ECF No. 27). While CFPN has separately moved to set aside the Default entered

 against it in this case, if the Court denies that motion, CFPN should still be heard on the numerous

 important issues pertaining to a potential 8-figure default judgment, which could amount to an

 undue windfall in favor of the Plaintiff and members of the defined class and destroy CFPN’s

 business. As more fully argued in the attached proposed Response Brief in Opposition to the

 Motion for Default Judgment, three key issues argue against entering a default judgment in this

 case.

         First, Plaintiff seeks a recovery under the Michigan Preservation of Personal Privacy Act,

 M.C.L. § 445.1711 et seq. (the “PPPA”), of $17,000,000 under a statute that does not confer

 standing on any member of the defined class of “subscribers.” Under the PPPA, recovery is

 permitted only for a “customer,” which the statute defines as a “person who purchase[d],

 rent[ed], or borrow[ed] a book or other written material, or a sound recording, or a video

 recording” from the defendant. While paragraph 12 of the Complaint includes a vague reference

 to “Plaintiff’s purchase of a Financial Advisor subscription in Michigan,” PageID.6, no such

 “purchase” occurred because CFPN does not sell, and never has sold, Financial Advisor. Instead,

 CFPN provides the magazine “at no cost” and only to registered financial advisors, which

 apparently does not include Matthew Kotila. Thus, because neither the Plaintiff nor any

 substituted plaintiff or class member paid for Financial Advisor, the PPPA does not confer standing

 on them to sue and recover in this action.


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        Second, a default judgment is also inappropriate because CFPN is not a seller “at retail”

 of Financial Advisor because, again, it does not sell that magazine but gives it away for free to

 financial advisors. Under the PPPA, there is no violation unless the defendant was (i) a seller at

 retail, renter, or lending of books and (ii) revealed information that connects a customer to a

 purchased, rented, or loaned written material. Thus, even if a class member claimed to have

 purchased Financial Advisor, that claim should be carefully scrutinized against the reality that

 CFPN was not the seller.

        Finally, it is important to point out that the class definition approved by the Court does not

 comport with the language of the PPPA. As shown above, and as more fully argued in the proposed

 Response in Opposition, liability under the PPPA turns on the plaintiff having purchased, rented,

 or borrowed a book or written material. The class definition, however, does not address that

 threshold requirement, instead focusing on individuals who received a “subscription”:

                 Plaintiff, as well as every other resident of Michigan who subscribed
                 to any of Defendant’s publications before July 31, 2016, and whose
                 name together with the name of the publication(s) to which they
                 subscribed were disclosed by Defendant (or an employee or agent of
                 Defendant acting on Defendant’s behalf) at any time between April
                 25, 2016, and July 30, 2016, to any third party without the consent
                 of the subscriber.

 PageID.658-659. Thus, the definition gives a broader range of individuals rights under the PPPA

 than authorized by the statute. If nothing else, the definition should be revised to conform to the

 statutory requirements and Plaintiff should be required to investigate whether any persons in

 Michigan qualify for relief under the PPPA before a judgment of any kind is entered, if at all. CFPN,

 of course, submits that the correct number of Michigan residents eligible to recover under the

 PPPA is zero.

        WHEREFORE, CFPN prays that this Court enter an order granting this Motion and


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 permitting CFPN leave to file the Reply Brief attached as Exhibit A to its Motion for Leave to File

 Reply Brief in Support of Motion to Set Aside Default.

                                                     Respectfully submitted,

                                                     BROOKS WILKINS
                                                     SHARKEY & TURCO PLLC

                                                     By: /s/T. L. Summerville
                                                     T. L. Summerville (P63445)
                                                     Attorneys for Defendant Charter Financial
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 Date: December 4, 2023



                CERTIFICATE OF COMPLIANCE-LOCAL RULE 7.3(B)(II)

         I hereby certify that the foregoing Brief contains 670 words, as calculated using the Word
 feature in Microsoft Word and exclusive of any words in the case caption, cover sheet, tables of
 content or authority, signature block, attachments, exhibits, affidavits, or other addenda.

                                                           /s/ T.L. Summerville
                                                           T.L. Summerville


                                 CERTIFICATE OF SERVICE

          I hereby certify that, on December 4, 2023, I electronically filed the foregoing document
 with the Clerk of the Court using the electronic filing system which will send notification of such
 filing to all counsel of record.

                                                           /s/ T. L. Summerville
                                                           T. L. Summerville




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